Case 1:11-cv-20029-PAS Document 30 Entered on FLSD Docket 07/18/2011 Page 1 of 2




    1                                                  IN THE DISTRICT COURT IN AND FOR
                                                       THE SOUTHERN DISTRICT OF FLORIDA
    2                                                  MIAMI DIVISION

    3                                                  CASE NO. 1:11-cv-20029
        JAMES FONT,
    4
               Plaintiff,
    5
        v.
    6
        NCO FINANCIAL SYSTEMS, INC.,
    7
              Defendant.
    8   _____________________________________/
    9               NOTICE OF DISMISSAL OF UNDERLYING CLAIMS EXCLUSIVE OF
                                ATTORNEY’S FEES AND COSTS
   10
               NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of Court of the
   11
        Southern District Florida Plaintiff’s Notice of Dismissal of the underlying claims in the case,
   12

   13   exclusive of Plaintiff’s claims for attorney’s fees and costs, a copy of which is herewith served

   14   upon Defendant. This Court shall retain jurisdiction over the issue of Plaintiff’s attorney’s fees

   15   and costs currently before the Court.

   16                         RESPECTFULLY SUBMITTED this 18th Day of July, 2011.

   17
                                                            By: s/ Alex Weisberg
   18                                                       ALEX D. WEISBERG
                                                            FBN: 0566551
   19                                                       WEISBERG & MEYERS, LLC
                                                            ATTORNEYS FOR PLAINTIFF
   20                                                       5722 S. Flamingo Rd, Ste. 656
                                                            Cooper City, FL 33330
   21                                                       (954) 212-2184
                                                            (866) 577-0963 fax
   22                                                       aweisberg@attorneysforconsumers.com

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                                                Notice of Dismissal - 1
Case 1:11-cv-20029-PAS Document 30 Entered on FLSD Docket 07/18/2011 Page 2 of 2




    1                                  CERTIFICATE OF FILING

    2          I hereby certify that on July 18, 2011, the foregoing was filed electronically with the

    3   Clerk of Court to be served by operation of the Court’s electronic filing system upon the

    4   following: Mr. Kenneth Grace at kgrace@sessions-law.biz.

    5

    6                                                  By: s/ Alex Weisberg
                                                       ALEX D. WEISBERG
    7                                                  FBN: 0566551
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                                           Notice of Dismissal - 2
